                                            Case 1:13-bk-13960            Doc 436 Filed FORM 1
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                                                                                     ASSET CASES

Case No.:                         13-13960                                                                                           Trustee Name:                        George Leicht
Case Name:                        FRENCH MANOR PROPERTIES, LLC                                                                       Date Filed (f) or Converted (c):     08/21/2013 (f)
For the Period Ending:            12/31/2018                                                                                         §341(a) Meeting Date:                10/15/2013
                                                                                                                                     Claims Bar Date:                     01/13/2014
                                    1                                       2                      3                           4                        5                                     6

                       Asset Description                                 Petition/        Estimated Net Value               Property              Sales/Funds            Asset Fully Administered (FA)/
                        (Scheduled and                                 Unscheduled       (Value Determined by               Abandoned             Received by           Gross Value of Remaining Assets
                   Unscheduled (u) Property)                              Value                 Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                        Less Liens, Exemptions,
                                                                                           and Other Costs)

Ref. #
1        unknown                                                                $0.00                     Unknown                                            $0.00                                        FA
2        UNKNOWN                                                                $0.00                         $0.00                                          $0.00                                        FA
3        Chase Account ending 0150                                              $0.00                         $0.00                                          $0.00                                        FA
4        Fifth Third bank account                                               $0.00                         $0.00                                          $0.00                                        FA
5        US Bank Account ending 8253                                            $0.00                         $0.00                                          $0.00                                        FA
6        UNKNOWN                                                                $0.00                         $0.00                                          $0.00                                        FA
7        UNKNOWN                                                                $0.00                         $0.00                                          $0.00                                        FA
8        UNKNOWN                                                                $0.00                         $0.00                                          $0.00                                        FA
9        UNKNOWN                                                                $0.00                         $0.00                                          $0.00                                        FA
10       UNKNOWN                                                                $0.00                         $0.00                                          $0.00                                        FA
11       UNKNOWN                                                                $0.00                         $0.00                                          $0.00                                        FA
12       UNKNOWN                                                                $0.00                         $0.00                                          $0.00                                        FA
13       UNKNOWN                                                                $0.00                         $0.00                                          $0.00                                        FA
14       UNKNOWN                                                                $0.00                         $0.00                                          $0.00                                        FA
15       UNKNOWN                                                                $0.00                         $0.00                                          $0.00                                        FA
16       UNKNOWN                                                                $0.00                         $0.00                                          $0.00                                        FA
17       Dogzone, LLC (ownership percentage believed                            $0.00                         $0.00                                          $0.00                                        FA
         to be 51% based on Dogzone tax returns)
18       MeyCraft, LLC                                                          $0.00                         $0.00                                          $0.00                                        FA
Asset Notes:       trustee finished investigating asset, no value
19       CoCraft, LLC                                                       Unknown                     $50,000.00                                           $0.00                                $50,000.00
Asset Notes:       Suit pending
20       The 6 Degree Group                                                     $0.00                         $0.00                                          $0.00                                        FA
21       French Manor Properties of DFW, LLC                                    $0.00                         $0.00                                          $0.00                                        FA
22       UNKNOWN                                                                $0.00                         $0.00                                          $0.00                                        FA
23       UNKNOWN                                                                $0.00                         $0.00                                          $0.00                                        FA
24       UNKNOWN                                                                $0.00                         $0.00                                          $0.00                                        FA
25       UNKNOWN                                                                $0.00                         $0.00                                          $0.00                                        FA
26       UNKNOWN                                                                $0.00                         $0.00                                          $0.00                                        FA
                                          Case 1:13-bk-13960              Doc 436 Filed FORM 1
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Case No.:                      13-13960                                                                                              Trustee Name:                        George Leicht
Case Name:                     FRENCH MANOR PROPERTIES, LLC                                                                          Date Filed (f) or Converted (c):     08/21/2013 (f)
For the Period Ending:         12/31/2018                                                                                            §341(a) Meeting Date:                10/15/2013
                                                                                                                                     Claims Bar Date:                     01/13/2014
                                  1                                         2                      3                           4                        5                                     6

                      Asset Description                                  Petition/        Estimated Net Value               Property              Sales/Funds            Asset Fully Administered (FA)/
                       (Scheduled and                                  Unscheduled       (Value Determined by               Abandoned             Received by           Gross Value of Remaining Assets
                  Unscheduled (u) Property)                               Value                 Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                        Less Liens, Exemptions,
                                                                                           and Other Costs)

27      UNKNOWN                                                                 $0.00                         $0.00                                            $0.00                                      FA
28      UNKNOWN                                                                 $0.00                         $0.00                                            $0.00                                      FA
29      UNKNOWN                                                                 $0.00                         $0.00                                            $0.00                                      FA
30      UNKNOWN                                                                 $0.00                         $0.00                                            $0.00                                      FA
31      UNKNOWN                                                                 $0.00                         $0.00                                            $0.00                                      FA
32      UNKNOWN                                                                 $0.00                         $0.00                                            $0.00                                      FA
33      UNKNOWN                                                                 $0.00                         $0.00                                            $0.00                                      FA
34      UNKNOWN                                                                 $0.00                         $0.00                                            $0.00                                      FA
35      UNKNOWN                                                                 $0.00                         $0.00                                            $0.00                                      FA
36      UNKNOWN                                                                 $0.00                         $0.00                                            $0.00                                      FA
37      UNKNOWN                                                                 $0.00                         $0.00                                            $0.00                                      FA
38      UNKNOWN                                                                 $0.00                         $0.00                                            $0.00                                      FA
39      UNKNOWN                                                                 $0.00                         $0.00                                            $0.00                                      FA
40      UNKNOWN                                                                 $0.00                         $0.00                                            $0.00                                      FA
41      UNKNOWN                                                                 $0.00                         $0.00                                            $0.00                                      FA
42      UNKNOWN                                                                 $0.00                         $0.00                                            $0.00                                      FA
43      UNKNOWN                                                                 $0.00                         $0.00                                            $0.00                                      FA
44     Any and all property seized by the government                            $0.00                         $0.00                                            $0.00                                      FA
       investigation of Debtor including 6 season tickets
       for the Cincinnati Reds
Asset Notes:      Liquidated by DOJ--no value to the estate
45      Settlement of Fraudulent Transfer with Quinlan        (u)               $0.00                     $9,944.80                                         $9,944.80                                     FA
Asset Notes:      Settlement of Adversary Case No. 15-01051
46     Settlement of Fraudulent Transfer with Debra           (u)               $0.00                     $2,800.00                                         $2,800.00                                     FA
       Hall
Asset Notes:    Settlment of Adversary Case No. 15-0006
47      Settlement of Fraudulent Transfer with Steier         (u)               $0.00                   $20,000.00                                      $20,000.00                                        FA
Asset Notes:      Settlement of Adversary Case 15-01055
48     Settlement of Fraudulent Transfer with                 (u)               $0.00                     $4,700.00                                         $4,700.00                                     FA
       Stambaugh
Asset Notes:    Settlement of Adversary Case 15-01055
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Case No.:                      13-13960                                                                                                               Trustee Name:                        George Leicht
Case Name:                     FRENCH MANOR PROPERTIES, LLC                                                                                           Date Filed (f) or Converted (c):     08/21/2013 (f)
For the Period Ending:         12/31/2018                                                                                                             §341(a) Meeting Date:                10/15/2013
                                                                                                                                                      Claims Bar Date:                     01/13/2014
                                  1                                                 2                               3                           4                        5                                     6

                      Asset Description                                        Petition/                  Estimated Net Value                Property              Sales/Funds            Asset Fully Administered (FA)/
                       (Scheduled and                                        Unscheduled                 (Value Determined by                Abandoned             Received by           Gross Value of Remaining Assets
                  Unscheduled (u) Property)                                     Value                           Trustee,               OA =§ 554(a) abandon.        the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

49      Settlement of Fraudulent Transfer with Giglio             (u)                   $0.00                             $24,900.00                                      $24,900.00                                       FA
Asset Notes:      Settlement of Adversary Case 15-0005
50     Settlement of Fraudulent Transfer                          (u)                   $0.00                           $213,051.00                                      $213,051.00                                       FA
       Rhodenbaugh
Asset Notes:    Settlement of Adversary Case 15-00012
51      Settlement of Fraudulent Transfer with Phillips           (u)                   $0.00                             $10,000.00                                      $10,000.00                                       FA
Asset Notes:      Settlement with Phillips. Settlement of Adversary Case 15-01050
52      Settlement of Fraudulent Transfer with Wood               (u)                   $0.00                             $55,000.00                                      $55,000.00                                       FA
Asset Notes:      Settlement of Adversary Case 15-00011
53      Settlement of Fraudulent Transfer with Maue               (u)                   $0.00                             $14,781.00                                      $14,781.00                                       FA
Asset Notes:      Settlement with Maue
54      Settlement of Fraudulent Transfer with Wayne              (u)                   $0.00                             $10,000.00                                      $10,000.00                                       FA
        Steve Smiley
55      Settlement of Fraudulent Transfer with Henson             (u)                   $0.00                             $11,500.00                                      $11,500.00                                       FA
Asset Notes:      Settlement of Adversary Case 15-01065
56      Fraudulent Transfers                                      (u)                   $0.00                           $900,000.00                                             $0.00                              $900,000.00
Asset Notes:      Trustee pursuing several fraudulent transfers. At this time, values are unknown because of potential defenses.
57     Settlement of Fraudulent Transfer with                     (u)                   $0.00                             $85,000.00                                      $85,000.00                                       FA
       Kellerman
Asset Notes:    Settlement of Adversary Case 15-0007
58      Settlement of Fraudulent Transfer with US Bank            (u)                   $0.00                             $38,502.66                                      $38,502.66                                       FA
Asset Notes:      Settlement of Adversary Case 15-01053
59      unknown refund from US Bank                               (u)                   $0.00                                 $68.45                                           $68.45                                      FA
60      Settlement of Fraudulent Transfer with Robson             (u)                   $0.00                             $44,000.00                                      $44,000.00                                       FA
Asset Notes:      Settlement of Adversary Case 15-01052
61     Settlement of Fraudulent Transfer with Joan                (u)                   $0.00                             $35,000.00                                      $35,000.00                                       FA
       Smiley
Asset Notes:    Settlement of Adversary Case 15-01053
62      Settlement of Fraudulent Transfer with Baker              (u)                   $0.00                             $32,000.00                                      $32,000.00                                       FA
Asset Notes:      Settlement of Adversary Case 15-0002
63      Settlement of Fraudulent Transfer with 5/3 Bank           (u)                   $0.00                              $6,500.00                                         $6,500.00                                     FA
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Case No.:                      13-13960                                                                                                                Trustee Name:                             George Leicht
Case Name:                     FRENCH MANOR PROPERTIES, LLC                                                                                            Date Filed (f) or Converted (c):          08/21/2013 (f)
For the Period Ending:         12/31/2018                                                                                                              §341(a) Meeting Date:                     10/15/2013
                                                                                                                                                       Claims Bar Date:                          01/13/2014
                                  1                                               2                              3                               4                        5                                          6

                      Asset Description                                       Petition/                 Estimated Net Value                 Property                 Sales/Funds             Asset Fully Administered (FA)/
                       (Scheduled and                                       Unscheduled                (Value Determined by                 Abandoned                Received by            Gross Value of Remaining Assets
                  Unscheduled (u) Property)                                    Value                          Trustee,                OA =§ 554(a) abandon.           the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

64      Settlement of Fraudulent Transfer-Scamehorn              (u)                   $0.00                           $19,500.00                                          $19,500.00                                            FA
65     Settlement of Fraudulent Transfer with Miami              (u)                   $0.00                           $22,500.00                                          $22,500.00                                            FA
       Valley Christian Academy
Asset Notes:     4 payments received for Fraudulent Transfer
66     Settlement of Fraudulent Transfer with                    (u)                 $0.00                           $144,980.00                                          $142,200.00                                      $2,780.00
       Patterson, J. Bickley, K. Bickley (now White),
       Pfeiffenberger, Triathlon (properties and
       acquisitions)
Asset Notes:     $111,151.00 will be received in cash plus a mortgage (time payment of $33,829.00) before 10/31/2018
67     Settlement of Fraudulent Transfer with Douglas            (u)                   $0.00                           $13,900.00                                          $13,900.00                                            FA
       and Lisa Jenkins
Asset Notes:     FMP vs. Jenkins, Adversary Case 15-01062


TOTALS (Excluding unknown value)                                                                                                                                                                     Gross Value of Remaining Assets
                                                                                      $0.00                          $1,768,627.91                                        $815,847.91                                    $952,780.00



Major Activities affecting case closing:
 11/06/2018     Filed Motion for Partial Summary Judgement to have FMP declared a Ponzi scheme under Misc. Proceeding 18-0101 against Cohen/Global and Williams/Jenntara
 12/20/2017     All but three of 544 and 548 actions are settled. Continuing Discovery on 15-01063 and 15-01059. Now attempting to resolve remaining Proofs of Claim.
 11/27/2017     Motion for 2004 JP Morgan/Chase
 11/29/2016     Order Setting Status Conference (RE: related document(s)1 Complaint filed by Plaintiff George Leicht). Status hearing to be held on 1/18/2017 at 02:30 PM Judge Buchanan Courtroom 1
                for 1, (1nb) (Entered: 11/29/2016)
 11/28/2016     Tolling Agreements , extending the deadline for Patricia Fugee's clients, 60 days.
 12/31/2015     Trustee pursuing approximately 20 fraudulent transfers. At this time, values are unknown because of potential defenses. NOTE - proceeds of individual recoveries of fraudulent
                transfers has been redacted pursuant to Order of the Court on Sept 11, 2015 (Doc No. 259) to facilitate settlement of the remaining adversary actions
 11/30/2015     report to court 13 cases settled, one dismissed. two pending settlements. 11 cases will be up with tolling agreements within 60 days. Commenced negotiations with tolled cases
 08/31/2015     Filed 31 tolling agreements and adversary complaints for recovery of funds
 07/23/2015     Continue 2004 exams, drafting adversary complaints and tolling agreements
 05/29/2015     File 2004 exams to verify "net winners" in Ponzi to prepare for adversary filings (25 motions)
 02/18/2015     Continue to trace funds from 5/3 Bank, Chase and US Bank to find potential "net winners" in Ponzi, Release of Bond from second involintary
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Case No.:                     13-13960                                                                                                                 Trustee Name:                              George Leicht
Case Name:                    FRENCH MANOR PROPERTIES, LLC                                                                                             Date Filed (f) or Converted (c):           08/21/2013 (f)
For the Period Ending:        12/31/2018                                                                                                               §341(a) Meeting Date:                      10/15/2013
                                                                                                                                                       Claims Bar Date:                           01/13/2014
                                 1                                                2                              3                               4                        5                                          6

                     Asset Description                                       Petition/                  Estimated Net Value                 Property                 Sales/Funds                Asset Fully Administered (FA)/
                      (Scheduled and                                       Unscheduled                 (Value Determined by                 Abandoned                Received by               Gross Value of Remaining Assets
                 Unscheduled (u) Property)                                    Value                           Trustee,                OA =§ 554(a) abandon.           the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

 11/21/2014    Continue to trace funds via 5/3 and Chase FMP accounts - continued discussion with atty for some investors regarding abandonment of three FMP properties transferred prior to
               bankruptcy filing.
 07/16/2014    Possible source of funds - abandonment of three FMP properties that were transferred outside 90 day preference period - but have now gone to foreclosure.
 06/30/2014    Reviewing 5/3 banks account statments - 2010 to filing date -continue to trace investor funds
 03/20/2014    Attempting to reconstruct records of FMP - subpoenas issued for AmExp, AT&T, 5/3 Bank, Chase Bank, US Bank, Chas Schwab, Equity Trust Co, Warsaw Fed.
 12/31/2013    All values are unknown at this time. This is an involuntary case. The debtor refuses to cooperate and has provided no information to the Trustee. The above information has been
               obtained from subpoenaed bank records. Principal member of the debtor has been indicted in Federal Court SD Ohio.


Initial Projected Date Of Final Report (TFR):         12/31/2018                           Current Projected Date Of Final Report (TFR):             12/31/2019               /s/ GEORGE LEICHT
                                                                                                                                                                              GEORGE LEICHT
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       13-13960                                                                                       Trustee Name:                         George Leicht
Case Name:                     FRENCH MANOR PROPERTIES, LLC                                                                   Bank Name:                            Independent Bank
Primary Taxpayer ID #:         **-***9759                                                                                     Checking Acct #:                      ******3960
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:
For Period Beginning:          01/01/2018                                                                                     Blanket bond (per case limit):        $2,000,000.00
For Period Ending:             12/31/2018                                                                                     Separate bond (if applicable):


     1                2                         3                                                         4                                          5                    6                 7

Transaction      Check /                     Paid to/                             Description of Transaction                   Uniform            Deposit           Disbursement          Balance
   Date           Ref. #                  Received From                                                                       Tran Code             $                    $


09/29/2015           (45)   Kevin Quinlan                                Settlement of Fraudulent Transfer with Quinlan        1241-000            $9,944.80                     $0.00          $9,944.80
09/29/2015           (46)   Debra Hall                                   Settlement of Fraudulent Transfer with Debra Hall     1241-000            $2,800.00                     $0.00       $12,744.80
09/29/2015           (47)   Gary Steier                                  Settlement of Fraudulent Transfer with Gary Steier    1241-000           $20,000.00                     $0.00       $32,744.80
10/08/2015           (48)   Bruce Stambaugh                              Settlement of Fraudulent Transfer with Stambaugh      1241-000            $4,700.00                     $0.00       $37,444.80
10/08/2015           (49)   David and Mindy Giglio                       Settlement of Fraudulent Transfer with Giglio         1241-000           $24,900.00                     $0.00       $62,344.80
10/13/2015           (50)   Tom and Mia Rhodenbaugh                      Settlement of Fraudulent with Transfer Rhodenbaugh    1241-000          $213,051.00                     $0.00      $275,395.80
10/20/2015           (51)   Todd A. and Stephanie M. Phillips            Settlement of Fraudulent Transfer with Phillips       1241-000           $10,000.00                     $0.00      $285,395.80
10/31/2015                  Integrity Bank                               Bank Service Fee                                      2600-000                  $0.00                 $276.24      $285,119.56
11/05/2015           (52)   Wood -Fifth Third Bank, Kentucky             Settlement of Fraudulent Transfer with Wood           1241-000           $55,000.00                     $0.00      $340,119.56
11/09/2015           (53)   Patrick Maue or Gail Maue                    Settlement on Fradulent Transfer with Maue            1241-000           $14,781.00                     $0.00      $354,900.56
11/16/2015           (54)   Wayne Steve Smiley                           Settlement on Fradulent Transfer with Wayne Steve     1241-000           $10,000.00                     $0.00      $364,900.56
                                                                         Smiley
11/17/2015           (55)   Stephen W. Henson                            Settlement of Fraudulent Transfer with Henson         1241-000           $11,500.00                     $0.00      $376,400.56
11/30/2015                  Integrity Bank                               Bank Service Fee                                      2600-000                  $0.00                 $546.26      $375,854.30
12/17/2015           3001   Insurance Partners Agency, Inc.              Bond Payment                                          2300-000                  $0.00                 $291.59      $375,562.71
12/31/2015                  Integrity Bank                               Bank Service Fee                                      2600-000                  $0.00                 $606.08      $374,956.63
01/31/2016                  Integrity Bank                               Bank Service Fee                                      2600-000                  $0.00                 $604.78      $374,351.85
02/08/2016           (57)   Christie L and Michael R. Kellerman          settlement of fraudulent transfer Kellerman           1241-000           $85,000.00                     $0.00      $459,351.85
02/26/2016           (58)   US Bank                                      Settlement of Fraudulent Transfer with US Bank        1229-000           $38,502.66                     $0.00      $497,854.51
02/29/2016                  Integrity Bank                               Bank Service Fee                                      2600-000                  $0.00                 $659.72      $497,194.79
03/15/2016           (59)   US Bank                                      Unknown refund from US Bank                           1229-000              $68.45                      $0.00      $497,263.24
03/21/2016           (60)   Michelle H. Byers                            Fraudulent transfer on Robson (Byers)                 1241-000           $44,000.00                     $0.00      $541,263.24
03/31/2016                  Integrity Bank                               Bank Service Fee                                      2600-000                  $0.00                 $822.60      $540,440.64
04/07/2016           3002   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                            2700-000                  $0.00                 $350.00      $540,090.64
04/07/2016           3003   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                            2700-000                  $0.00                 $350.00      $539,740.64
04/07/2016           3004   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                            2700-000                  $0.00                 $350.00      $539,390.64
                                                                                                                              SUBTOTALS           $544,247.91                 $4,857.27
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       13-13960                                                                              Trustee Name:                        George Leicht
Case Name:                     FRENCH MANOR PROPERTIES, LLC                                                          Bank Name:                           Independent Bank
Primary Taxpayer ID #:         **-***9759                                                                            Checking Acct #:                     ******3960
Co-Debtor Taxpayer ID #:                                                                                             Account Title:
For Period Beginning:          01/01/2018                                                                            Blanket bond (per case limit):       $2,000,000.00
For Period Ending:             12/31/2018                                                                            Separate bond (if applicable):


     1                2                        3                                                          4                                5                    6                 7

Transaction      Check /                     Paid to/                             Description of Transaction          Uniform           Deposit           Disbursement          Balance
   Date           Ref. #                  Received From                                                              Tran Code            $                    $


04/07/2016           3005   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $539,040.64
04/07/2016           3006   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $538,690.64
04/07/2016           3007   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $538,340.64
04/07/2016           3008   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $537,990.64
04/07/2016           3009   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $537,640.64
04/07/2016           3010   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $537,290.64
04/07/2016           3011   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $536,940.64
04/07/2016           3012   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $536,590.64
04/07/2016           3013   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $536,240.64
04/07/2016           3014   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $535,890.64
04/07/2016           3015   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $535,540.64
04/07/2016           3016   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $535,190.64
04/07/2016           3017   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $534,840.64
04/07/2016           3018   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $534,490.64
04/07/2016           3019   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $534,140.64
04/07/2016           3020   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $533,790.64
04/07/2016           3021   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $533,440.64
04/07/2016           3022   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $533,090.64
04/07/2016           3023   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $532,740.64
04/07/2016           3024   Clerk of United States Bankruptcy Court      Distribution on Claim #: ;                   2700-000                 $0.00                 $350.00      $532,390.64
04/30/2016                  Integrity Bank                               Bank Service Fee                             2600-000                 $0.00                 $836.04      $531,554.60
05/24/2016           (61)   Joan M. Smiley                               Settlement of Fraudulent Transfer            1241-000          $35,000.00                     $0.00      $566,554.60
05/31/2016                  Integrity Bank                               Bank Service Fee                             2600-000                 $0.00                 $870.11      $565,684.49
06/16/2016           (62)   Shawn Baker                                  return of Fraudulent Transfer                1241-000          $32,000.00                     $0.00      $597,684.49
06/30/2016                  Integrity Bank                               Bank Service Fee                             2600-000                 $0.00                 $906.29      $596,778.20


                                                                                                                    SUBTOTALS            $67,000.00                 $9,612.44
                                        Case 1:13-bk-13960         Doc 436         Filed 01/25/19 Entered 01/25/19 15:14:20                           Desc
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                                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       13-13960                                                                                     Trustee Name:                        George Leicht
Case Name:                     FRENCH MANOR PROPERTIES, LLC                                                                 Bank Name:                           Independent Bank
Primary Taxpayer ID #:         **-***9759                                                                                   Checking Acct #:                     ******3960
Co-Debtor Taxpayer ID #:                                                                                                    Account Title:
For Period Beginning:          01/01/2018                                                                                   Blanket bond (per case limit):       $2,000,000.00
For Period Ending:             12/31/2018                                                                                   Separate bond (if applicable):


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Transaction      Check /                    Paid to/                        Description of Transaction                       Uniform           Deposit           Disbursement        Balance
   Date           Ref. #                 Received From                                                                      Tran Code            $                    $


07/25/2016           (63)   Fifth Third Bank                        Settlement of Fraudulent Transfers                       1241-000           $6,500.00                    $0.00     $603,278.20
07/31/2016                  Integrity Bank                          Bank Service Fee                                         2600-000                 $0.00                $964.59     $602,313.61
08/08/2016           (64)   William D. Scamehorn                    Settlement of Fraudlent Transfer                         1241-000          $19,500.00                    $0.00     $621,813.61
08/31/2016                  Integrity Bank                          Bank Service Fee                                         2600-000                 $0.00                $994.82     $620,818.79
09/30/2016                  Integrity Bank                          Bank Service Fee                                         2600-000                 $0.00                $969.04     $619,849.75
10/31/2016                  Integrity Bank                          Bank Service Fee                                         2600-000                 $0.00                $999.77     $618,849.98
11/11/2016           3025   Insurance Partners Agency, Inc.         Bond Term: 11/01/2016 - 11/01/2017                       2300-000                 $0.00                $144.15     $618,705.83
11/30/2016                  Integrity Bank                          Bank Service Fee                                         2600-000                 $0.00                $965.85     $617,739.98
12/31/2016                  Integrity Bank                          Bank Service Fee                                         2600-000                 $0.00                $996.37     $616,743.61
01/06/2017           3026   Cohen, Todd, Kite and Stanford LLC      Per Doc. No. 312                                         3210-000                 $0.00           $41,236.65       $575,506.96
01/06/2017           3027   Cohen, Todd, Kite and Stanford LLC      Per Doc. No. 312                                         3220-000                 $0.00                $205.66     $575,301.30
01/31/2017                  Integrity Bank                          Bank Service Fee                                         2600-000                 $0.00                $947.33     $574,353.97
02/28/2017                  Integrity Bank                          Bank Service Fee                                         2600-000                 $0.00                $836.74     $573,517.23
03/31/2017                  Integrity Bank                          Bank Service Fee                                         2600-000                 $0.00                $925.05     $572,592.18
04/30/2017                  Integrity Bank                          Bank Service Fee                                         2600-000                 $0.00                $893.76     $571,698.42
05/31/2017                  Integrity Bank                          Bank Service Fee                                         2600-000                 $0.00                $849.28     $570,849.14
06/30/2017                  Integrity Bank                          Bank Service Fee                                         2600-000                 $0.00                $820.66     $570,028.48
07/31/2017                  Integrity Bank                          Bank Service Fee                                         2600-000                 $0.00                $846.80     $569,181.68
08/31/2017                  Integrity Bank                          Bank Service Fee                                         2600-000                 $0.00                $845.54     $568,336.14
09/14/2017           (65)   Miami Valley Christian Academy          Fradulent Transfer, partial payment                      1241-000           $5,625.00                    $0.00     $573,961.14
09/30/2017                  Integrity Bank                          Bank Service Fee                                         2600-000                 $0.00                $821.36     $573,139.78
10/03/2017           (66)   FisherBroyles LLP                       FMP v Patterson (Gang of Five) Settlement in Full        1241-000          $76,405.00                    $0.00     $649,544.78
                                                                    (Patterson)
10/03/2017           (66)   Midland Trust                           FMP v Rodger Pfeiffenberger (gang of five) settlement    1241-000           $2,896.00                    $0.00     $652,440.78
                                                                    in full


                                                                                                                            SUBTOTALS          $110,926.00            $55,263.42
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                                                              CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       13-13960                                                                                    Trustee Name:                        George Leicht
Case Name:                     FRENCH MANOR PROPERTIES, LLC                                                                Bank Name:                           Independent Bank
Primary Taxpayer ID #:         **-***9759                                                                                  Checking Acct #:                     ******3960
Co-Debtor Taxpayer ID #:                                                                                                   Account Title:
For Period Beginning:          01/01/2018                                                                                  Blanket bond (per case limit):       $2,000,000.00
For Period Ending:             12/31/2018                                                                                  Separate bond (if applicable):


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Transaction      Check /                    Paid to/                      Description of Transaction                        Uniform           Deposit           Disbursement          Balance
   Date           Ref. #                 Received From                                                                     Tran Code            $                    $


10/03/2017           (66)   Triathlon Acquisitons                1 check (White) Citibank $1016.15                          1241-000           $4,259.15                     $0.00      $656,699.93
                                                                 1 check (Joseph Bickley) Equity Trust $3243.10
10/03/2017           (66)   Triathlon Properties                 Catfish 1702 Pfeiffenberger $3,262.25                      1241-000          $10,186.75                     $0.00      $666,886.68
                                                                 Citibank 32028284 White $3,462.25
                                                                 Equity Trust 557611 Bickley $3462.25
10/04/2017           (66)   Triathlon Acquisitions               Triathlon Acquisitions-Jane Pfeiffenberger                 1241-000           $4,259.25                     $0.00      $671,145.93
10/04/2017           (66)   Triathlon Acquisitions               Triathalon Acquisitions-Rodger Pffeiffenberger             1241-000           $4,259.25                     $0.00      $675,405.18
10/04/2017           (66)   Triathlon Properties                 Triathlon Properties for Rodger Pfeiffenberger             1241-000           $3,462.25                     $0.00      $678,867.43
10/09/2017           (66)   Joseph Bickley                       FMP v Joe Bickley (gang of five) settlement in full per    1241-000          $14,813.00                     $0.00      $693,680.43
                                                                 agreement
10/10/2017           (66)   Triathlon Acquisitons                1 check (White) Citibank $1016.15                          1241-000                 $0.10                   $0.00      $693,680.53
                                                                 1 check (Joseph Bickley) Equity Trust $3243.10


                                                                 $.10 deposit correction for deposit made on 10/3/2017
10/12/2017           (66)   Triathalon Acquisitions              Fradulent Transfer for Triathalon Acquistions-Joseph       1241-000           $1,016.15                     $0.00      $694,696.68
                                                                 Bickley
10/13/2017           (65)   Miami Valley Christian Academy       Fradulent Transfer-partial payment of Miami Valley         1241-000           $5,625.00                     $0.00      $700,321.68
                                                                 Christain Academy
10/19/2017           (66)   Triathlon Properties                 Fradulent transfer payment                                 1241-000            $200.00                      $0.00      $700,521.68
10/30/2017           (66)   Triathlon Acquistions                fradulent transfer                                         1241-000           $3,243.10                     $0.00      $703,764.78
10/31/2017                  Integrity Bank                       Bank Service Fee                                           2600-000                 $0.00            $1,008.06         $702,756.72
11/10/2017           (65)   Maima Valley Christian Academy       partial payment Fradulent transfer                         1241-000           $5,625.00                     $0.00      $708,381.72
11/20/2017           (66)   Triathlon Acquisitions, LLC          fraudulent transfer                                        1241-000           $1,300.00                     $0.00      $709,681.72
11/30/2017                  Integrity Bank                       Bank Service Fee                                           2600-000                 $0.00            $1,015.77         $708,665.95
12/05/2017           3028   Insurance Partners Agency, Inc.      Chapter 7 Blanket Bond                                     2300-000                 $0.00                 $198.61      $708,467.34
12/07/2017           (65)   Miami Valley Christian Academy       payment fraudulent transfer                                1241-000           $5,625.00                     $0.00      $714,092.34
12/27/2017           (66)   Triathlon Acquisitions               fraudulent transfer                                        1241-000           $1,700.00                     $0.00      $715,792.34

                                                                                                                           SUBTOTALS           $65,574.00                 $2,222.44
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                                                              CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       13-13960                                                                      Trustee Name:                        George Leicht
Case Name:                     FRENCH MANOR PROPERTIES, LLC                                                  Bank Name:                           Independent Bank
Primary Taxpayer ID #:         **-***9759                                                                    Checking Acct #:                     ******3960
Co-Debtor Taxpayer ID #:                                                                                     Account Title:
For Period Beginning:          01/01/2018                                                                    Blanket bond (per case limit):       $2,000,000.00
For Period Ending:             12/31/2018                                                                    Separate bond (if applicable):


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Transaction      Check /                      Paid to/                    Description of Transaction          Uniform           Deposit           Disbursement          Balance
   Date           Ref. #                   Received From                                                     Tran Code            $                    $


12/31/2017                  Integrity Bank                       Bank Service Fee                             2600-000                 $0.00            $1,059.32         $714,733.02
01/31/2018                  Integrity Bank                       Bank Service Fee                             2600-000                 $0.00            $1,061.76         $713,671.26
02/28/2018                  Integrity Bank                       Bank Service Fee                             2600-000                 $0.00                 $957.58      $712,713.68
03/01/2018           (67)   Lisa J. Vanluvanee                   settlement on fraudulent transer             1241-000          $13,900.00                     $0.00      $726,613.68
03/31/2018                  Integrity Bank                       Bank Service Fee                             2600-000                 $0.00            $1,078.74         $725,534.94
04/30/2018                  Integrity Bank                       Bank Service Fee                             2600-000                 $0.00            $1,043.04         $724,491.90
05/21/2018           (66)   Triathlon Acquisitions LLC           Fradulent transfer                           1241-000           $5,100.00                     $0.00      $729,591.90
05/31/2018                  Integrity Bank                       Bank Service Fee                             2600-000                 $0.00            $1,078.70         $728,513.20
06/30/2018                  Integrity Bank                       Bank Service Fee                             2600-000                 $0.00            $1,047.33         $727,465.87
07/23/2018           (66)   Triathlon Acquisitions, LLC          payment on fradulent transfer                1241-000           $3,000.00                     $0.00      $730,465.87
07/31/2018                  Integrity Bank                       Bank Service Fee                             2600-000                 $0.00            $1,081.68         $729,384.19
08/05/2018                  Independent Bank                     Bank Service Fee                             2600-000                 $0.00                 $174.77      $729,209.42
08/06/2018                  Independent Bank                     Bank Service Fee                             2600-000                 $0.00                ($174.77)     $729,384.19
08/21/2018           (66)   Triathlon Acquisitions, LLC          payment of fradulent transfer                1241-000           $1,700.00                     $0.00      $731,084.19
08/31/2018                  Independent Bank                     Bank Service Fee                             2600-000                 $0.00           $12,793.97         $718,290.22
09/05/2018                  Independent Bank                     Bank Service Fee                             2600-000                 $0.00          ($12,793.97)        $731,084.19
09/06/2018                  Independent Bank                     Bank Service Fee                             2600-000                 $0.00            $1,086.61         $729,997.58
09/07/2018           3029   John E. Gilbert                      Distribution on Claim                        7100-000                 $0.00           $37,348.08         $692,649.50
09/07/2018           3029   VOID: John E. Gilbert                Void of Check# 3029                          7100-003                 $0.00          ($37,348.08)        $729,997.58
09/07/2018           3030   Ed & Karen Wichta                    Distribution on Claim                        7100-000                 $0.00            $9,404.25         $720,593.33
09/07/2018           3030   VOID: Ed & Karen Wichta              Void of Check# 3030                          7100-003                 $0.00           ($9,404.25)        $729,997.58
09/07/2018           3031   Michael Fink                         Distribution on Claim                        7100-000                 $0.00            $6,362.28         $723,635.30
09/07/2018           3031   VOID: Michael Fink                   Void of Check# 3031                          7100-003                 $0.00           ($6,362.28)        $729,997.58
09/07/2018           3032   M Bruce VanDyke                      Distribution on Claim                        7100-000                 $0.00            $6,362.28         $723,635.30
09/07/2018           3032   VOID: M Bruce VanDyke                Void of Check# 3032                          7100-003                 $0.00           ($6,362.28)        $729,997.58


                                                                                                            SUBTOTALS            $23,700.00                 $9,494.76
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                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       13-13960                                                                                Trustee Name:                         George Leicht
Case Name:                     FRENCH MANOR PROPERTIES, LLC                                                            Bank Name:                            Independent Bank
Primary Taxpayer ID #:          **-***9759                                                                             Checking Acct #:                      ******3960
Co-Debtor Taxpayer ID #:                                                                                               Account Title:
For Period Beginning:          01/01/2018                                                                              Blanket bond (per case limit):        $2,000,000.00
For Period Ending:             12/31/2018                                                                              Separate bond (if applicable):


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Transaction      Check /                     Paid to/                               Description of Transaction          Uniform           Deposit            Disbursement          Balance
   Date           Ref. #                  Received From                                                                Tran Code            $                     $


09/07/2018           3033   Bruce R. Blum                                   Distribution on Claim                       7100-000                 $0.00            $22,760.07         $707,237.51
09/07/2018           3033   VOID: Bruce R. Blum                             Void of Check# 3033                         7100-003                 $0.00           ($22,760.07)        $729,997.58
09/07/2018           3034   Teresa Wellington                               Distribution on Claim                       7100-000                 $0.00            $18,778.47         $711,219.11
09/07/2018           3034   VOID: Teresa Wellington                         Void of Check# 3034                         7100-003                 $0.00           ($18,778.47)        $729,997.58
09/07/2018           3035   Lori Robson c/o Charles Miller, Esq.            Distribution on Claim                       7100-000                 $0.00             $6,958.74         $723,038.84
09/07/2018           3035   VOID: Lori Robson c/o Charles Miller, Esq.      Void of Check# 3035                         7100-003                 $0.00            ($6,958.74)        $729,997.58
09/07/2018           3036   Robert J. Gilbert                               Distribution on Claim                       7100-000                 $0.00            $29,617.41         $700,380.17
09/07/2018           3036   VOID: Robert J. Gilbert                         Void of Check# 3036                         7100-003                 $0.00           ($29,617.41)        $729,997.58
09/07/2018           3037   American Express Bank FSB                       Distribution on Claim                       7100-000                 $0.00                 $158.08       $729,839.50
09/07/2018           3037   VOID: American Express Bank FSB                 Void of Check# 3037                         7100-003                 $0.00                 ($158.08)     $729,997.58
09/07/2018           3038   Cindy A. Swinney                                Distribution on Claim                       7100-000                 $0.00            $35,935.95         $694,061.63
09/07/2018           3038   VOID: Cindy A. Swinney                          Void of Check# 3038                         7100-003                 $0.00           ($35,935.95)        $729,997.58
09/07/2018           3039   Joseph P and Sandra Moreland                    Distribution on Claim                       7100-000                 $0.00             $2,932.61         $727,064.97
09/07/2018           3039   VOID: Joseph P and Sandra Moreland              Void of Check# 3039                         7100-003                 $0.00            ($2,932.61)        $729,997.58
09/07/2018           3040   Dan Kunkemoeller                                Distribution on Claim                       7100-000                 $0.00            $37,429.90         $692,567.68
09/07/2018           3040   VOID: Dan Kunkemoeller                          Void of Check# 3040                         7100-003                 $0.00           ($37,429.90)        $729,997.58
09/07/2018           3041   Lawrence (Larry) Maglin                         Distribution on Claim                       7100-000                 $0.00            $25,564.54         $704,433.04
09/07/2018           3041   VOID: Lawrence (Larry) Maglin                   Void of Check# 3041                         7100-003                 $0.00           ($25,564.54)        $729,997.58
09/07/2018           3042   Jason McCain                                    Distribution on Claim                       7100-000                 $0.00             $2,628.22         $727,369.36
09/07/2018           3042   VOID: Jason McCain                              Void of Check# 3042                         7100-003                 $0.00            ($2,628.22)        $729,997.58
09/07/2018           3043   David Englehardt                                Distribution on Claim                       7100-000                 $0.00             $1,446.92         $728,550.66
09/07/2018           3043   VOID: David Englehardt                          Void of Check# 3043                         7100-003                 $0.00            ($1,446.92)        $729,997.58
09/07/2018           3044   Gregory Gromek                                  Distribution on Claim                       7100-000                 $0.00             $1,885.72         $728,111.86
09/07/2018           3044   VOID: Gregory Gromek                            Void of Check# 3044                         7100-003                 $0.00            ($1,885.72)        $729,997.58
09/07/2018           3045   Stanley L. Blythe                               Distribution on Claim                       7100-000                 $0.00            $78,520.49         $651,477.09


                                                                                                                      SUBTOTALS                   $0.00           $78,520.49
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Case No.                       13-13960                                                                             Trustee Name:                         George Leicht
Case Name:                     FRENCH MANOR PROPERTIES, LLC                                                         Bank Name:                            Independent Bank
Primary Taxpayer ID #:         **-***9759                                                                           Checking Acct #:                      ******3960
Co-Debtor Taxpayer ID #:                                                                                            Account Title:
For Period Beginning:          01/01/2018                                                                           Blanket bond (per case limit):        $2,000,000.00
For Period Ending:             12/31/2018                                                                           Separate bond (if applicable):


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Transaction      Check /                       Paid to/                          Description of Transaction          Uniform           Deposit            Disbursement          Balance
   Date           Ref. #                    Received From                                                           Tran Code            $                     $


09/07/2018           3045   VOID: Stanley L. Blythe                      Void of Check# 3045                         7100-003                 $0.00           ($78,520.49)        $729,997.58
09/07/2018           3046   Ohio Department of Job and Family            Distribution on Claim                       5800-000                 $0.00                 $234.23       $729,763.35
                            Services
09/07/2018           3046   VOID: Ohio Department of Job and Family      Void of Check# 3046                         5800-003                 $0.00                 ($234.23)     $729,997.58
                            Services
09/07/2018           3047   Ohio Department of Job and Family            Distribution on Claim                       7100-000                 $0.00                   $15.99      $729,981.59
                            Services
09/07/2018           3047   VOID: Ohio Department of Job and Family      Void of Check# 3047                         7100-003                 $0.00                  ($15.99)     $729,997.58
                            Services
09/07/2018           3048   Brett Bowman                                 Distribution on Claim                       7100-000                 $0.00                 $994.10       $729,003.48
09/07/2018           3048   VOID: Brett Bowman                           Void of Check# 3048                         7100-003                 $0.00                 ($994.10)     $729,997.58
09/07/2018           3049   Gregory H. Richards                          Distribution on Claim                       7100-000                 $0.00             $8,142.43         $721,855.15
09/07/2018           3049   VOID: Gregory H. Richards                    Void of Check# 3049                         7100-003                 $0.00            ($8,142.43)        $729,997.58
09/07/2018           3050   Shannon Ellis                                Distribution on Claim                       7100-000                 $0.00             $2,133.65         $727,863.93
09/07/2018           3050   VOID: Shannon Ellis                          Void of Check# 3050                         7100-003                 $0.00            ($2,133.65)        $729,997.58
09/07/2018           3051   Brian Blythe                                 Distribution on Claim                       7100-000                 $0.00            $34,460.60         $695,536.98
09/07/2018           3051   VOID: Brian Blythe                           Void of Check# 3051                         7100-003                 $0.00           ($34,460.60)        $729,997.58
09/07/2018           3052   Michael Blythe                               Distribution on Claim                       7100-000                 $0.00             $1,966.03         $728,031.55
09/07/2018           3052   VOID: Michael Blythe                         Void of Check# 3052                         7100-003                 $0.00            ($1,966.03)        $729,997.58
09/07/2018           3053   Sharmini Shanker                             Distribution on Claim                       7100-000                 $0.00            $28,839.03         $701,158.55
09/07/2018           3053   VOID: Sharmini Shanker                       Void of Check# 3053                         7100-003                 $0.00           ($28,839.03)        $729,997.58
09/07/2018           3054   Donald Keyes                                 Distribution on Claim                       7100-000                 $0.00             $5,354.16         $724,643.42
09/07/2018           3055   John E. Gilbert                              Distribution on Claim                       7100-000                 $0.00            $37,348.08         $687,295.34
09/07/2018           3056   Ed & Karen Wichta                            Distribution on Claim                       7100-000                 $0.00             $9,404.25         $677,891.09
09/07/2018           3057   Michael Fink                                 Distribution on Claim                       7100-000                 $0.00             $6,362.28         $671,528.81
09/07/2018           3058   M Bruce VanDyke                              Distribution on Claim                       7100-000                 $0.00             $6,362.28         $665,166.53

                                                                                                                   SUBTOTALS                   $0.00          ($13,689.44)
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                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       13-13960                                                                             Trustee Name:                        George Leicht
Case Name:                     FRENCH MANOR PROPERTIES, LLC                                                         Bank Name:                           Independent Bank
Primary Taxpayer ID #:          **-***9759                                                                          Checking Acct #:                     ******3960
Co-Debtor Taxpayer ID #:                                                                                            Account Title:
For Period Beginning:          01/01/2018                                                                           Blanket bond (per case limit):       $2,000,000.00
For Period Ending:             12/31/2018                                                                           Separate bond (if applicable):


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Transaction      Check /                       Paid to/                       Description of Transaction             Uniform           Deposit           Disbursement        Balance
   Date           Ref. #                    Received From                                                           Tran Code            $                    $


09/07/2018           3059   Bruce R. Blum                             Distribution on Claim                          7100-000                 $0.00           $22,760.07       $642,406.46
09/07/2018           3060   Teresa Wellington                         Distribution on Claim                          7100-000                 $0.00           $18,778.47       $623,627.99
09/07/2018           3061   Lori Robson c/o Charles Miller, Esq.      Distribution on Claim                          7100-000                 $0.00            $6,958.74       $616,669.25
09/07/2018           3062   Robert J. Gilbert                         Distribution on Claim                          7100-000                 $0.00           $29,617.41       $587,051.84
09/07/2018           3063   American Express Bank FSB                 Distribution on Claim                          7100-000                 $0.00                $158.08     $586,893.76
09/07/2018           3064   Cindy A. Swinney                          Distribution on Claim                          7100-000                 $0.00           $35,935.95       $550,957.81
09/07/2018           3065   Joseph P and Sandra Moreland              Distribution on Claim                          7100-000                 $0.00            $2,932.61       $548,025.20
09/07/2018           3066   Dan Kunkemoeller                          Distribution on Claim                          7100-000                 $0.00           $37,429.90       $510,595.30
09/07/2018           3067   Lawrence (Larry) Maglin                   Distribution on Claim                          7100-000                 $0.00           $25,564.54       $485,030.76
09/07/2018           3068   Jason McCain                              Distribution on Claim                          7100-000                 $0.00            $2,628.22       $482,402.54
09/07/2018           3069   David Englehardt                          Distribution on Claim                          7100-000                 $0.00            $1,446.92       $480,955.62
09/07/2018           3070   Gregory Gromek                            Distribution on Claim                          7100-000                 $0.00            $1,885.72       $479,069.90
09/07/2018           3071   Stanley L. Blythe                         Distribution on Claim                          7100-000                 $0.00           $78,520.49       $400,549.41
09/07/2018           3072   Ohio Department of Job and Family         Distribution on Claim                          5800-000                 $0.00                $234.23     $400,315.18
                            Services
09/07/2018           3073   Ohio Department of Job and Family         Distribution on Claim                          7100-000                 $0.00                 $15.99     $400,299.19
                            Services
09/07/2018           3074   Brett Bowman                              Distribution on Claim                          7100-000                 $0.00                $994.10     $399,305.09
09/07/2018           3075   Gregory H. Richards                       Distribution on Claim                          7100-000                 $0.00            $8,142.43       $391,162.66
09/07/2018           3076   Shannon Ellis                             Distribution on Claim                          7100-000                 $0.00            $2,133.65       $389,029.01
09/07/2018           3077   Brian Blythe                              Distribution on Claim                          7100-000                 $0.00           $34,460.60       $354,568.41
09/07/2018           3078   Michael Blythe                            Distribution on Claim                          7100-000                 $0.00            $1,966.03       $352,602.38
09/07/2018           3079   Sharmini Shanker                          Distribution on Claim                          7100-000                 $0.00           $28,839.03       $323,763.35
10/05/2018           (66)   Triathlon Acquisistions LLC               partial payment                                1241-000           $1,200.00                    $0.00     $324,963.35
11/01/2018           3078   STOP PAYMENT: Michael Blythe              Stop Payment for Check# 3078                   7100-004                 $0.00           ($1,966.03)      $326,929.38
11/01/2018           3080   Michael Blythe                            Distribution on Claim                          7100-000                 $0.00            $1,966.03       $324,963.35
                                                                                                                   SUBTOTALS             $1,200.00           $341,403.18
                                          Case 1:13-bk-13960         Doc 436           Filed 01/25/19 Entered 01/25/19 15:14:20                                   Desc
                                                                                        FORM
                                                                                         Page 142 of 15                                                                   Page No: 9
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                         13-13960                                                                                             Trustee Name:                          George Leicht
Case Name:                       FRENCH MANOR PROPERTIES, LLC                                                                         Bank Name:                             Independent Bank
Primary Taxpayer ID #:           **-***9759                                                                                           Checking Acct #:                       ******3960
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:
For Period Beginning:            01/01/2018                                                                                           Blanket bond (per case limit):         $2,000,000.00
For Period Ending:               12/31/2018                                                                                           Separate bond (if applicable):


     1                2                          3                                                      4                                                     5                    6               7

Transaction      Check /                      Paid to/                          Description of Transaction                             Uniform           Deposit             Disbursement        Balance
   Date           Ref. #                   Received From                                                                              Tran Code            $                      $


11/06/2018           (66)    Triathlon Acquisitions LLC               payment                                                          1241-000           $2,000.00                      $0.00     $326,963.35
12/05/2018           (66)    Triathlon Acquisitions, LLC              fradulent transfer                                               1241-000           $1,200.00                      $0.00     $328,163.35
12/19/2018           3081    Insurance Partners Agency, Inc.          Bond Allocation                                                  2300-000                   $0.00                $355.05     $327,808.30

                                                                                           TOTALS:                                                        $815,847.91             $488,039.61       $327,808.30
                                                                                               Less: Bank transfers/CDs                                         $0.00                   $0.00
                                                                                           Subtotal                                                       $815,847.91             $488,039.61
                                                                                               Less: Payments to debtors                                        $0.00                   $0.00
                                                                                           Net                                                            $815,847.91             $488,039.61




                      For the period of 01/01/2018 to 12/31/2018                                                     For the entire history of the account between 09/29/2015 to 12/31/2018

                      Total Compensable Receipts:                      $28,100.00                                    Total Compensable Receipts:                                 $815,847.91
                      Total Non-Compensable Receipts:                       $0.00                                    Total Non-Compensable Receipts:                                   $0.00
                      Total Comp/Non Comp Receipts:                    $28,100.00                                    Total Comp/Non Comp Receipts:                               $815,847.91
                      Total Internal/Transfer Receipts:                     $0.00                                    Total Internal/Transfer Receipts:                                 $0.00


                      Total Compensable Disbursements:                $415,024.72                                    Total Compensable Disbursements:                            $488,039.61
                      Total Non-Compensable Disbursements:                  $0.00                                    Total Non-Compensable Disbursements:                              $0.00
                      Total Comp/Non Comp Disbursements:              $415,024.72                                    Total Comp/Non Comp Disbursements:                          $488,039.61
                      Total Internal/Transfer Disbursements:                $0.00                                    Total Internal/Transfer Disbursements:                            $0.00
                                         Case 1:13-bk-13960         Doc 436         Filed 01/25/19 Entered 01/25/19 15:14:20                           Desc
                                                                                     FORM
                                                                                      Page 152 of 15                                                           Page No: 10
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        13-13960                                                                                     Trustee Name:                         George Leicht
Case Name:                      FRENCH MANOR PROPERTIES, LLC                                                                 Bank Name:                           Independent Bank
Primary Taxpayer ID #:          **-***9759                                                                                   Checking Acct #:                     ******3960
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:
For Period Beginning:           01/01/2018                                                                                   Blanket bond (per case limit):       $2,000,000.00
For Period Ending:              12/31/2018                                                                                   Separate bond (if applicable):


    1                2                           3                                                   4                                             5                     6              7

Transaction      Check /                     Paid to/                        Description of Transaction                        Uniform           Deposit           Disbursement       Balance
   Date           Ref. #                  Received From                                                                       Tran Code            $                    $


                                                                                                                                                                             NET         ACCOUNT
                                                                                      TOTAL - ALL ACCOUNTS                              NET DEPOSITS                    DISBURSE        BALANCES

                                                                                                                                                $815,847.91           $488,039.61       $327,808.30




                     For the period of 01/01/2018 to 12/31/2018                                              For the entire history of the account between 09/29/2015 to 12/31/2018

                     Total Compensable Receipts:                      $28,100.00                          Total Compensable Receipts:                                 $815,847.91
                     Total Non-Compensable Receipts:                       $0.00                          Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                    $28,100.00                          Total Comp/Non Comp Receipts:                               $815,847.91
                     Total Internal/Transfer Receipts:                     $0.00                          Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:                $415,024.72                          Total Compensable Disbursements:                            $488,039.61
                     Total Non-Compensable Disbursements:                  $0.00                          Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:              $415,024.72                          Total Comp/Non Comp Disbursements:                          $488,039.61
                     Total Internal/Transfer Disbursements:                $0.00                          Total Internal/Transfer Disbursements:                            $0.00




                                                                                                                                              /s/ GEORGE LEICHT
                                                                                                                                              GEORGE LEICHT
